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                           UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF PENNSYLVANIA


   IN RE: 5171 Campbells Land Co., Inc.,             Case No. 19-22715-CMB

               Debtor                                Chapter 11
   __________________________

   Reinhart Food Service, LLC,                       Hearing: November 21, 2019 at 2:00 P.M.

                  Movant                             Response Deadline: November 11, 2019

   v.

   5171 Campbells Land Co., Inc.,

                  Respondent.


           REINHART FOODSERVICE, L.L.C.’S MOTION FOR ALLOWANCE
                            OF 503(b)(9) CLAIM

         Reinhart Foodservice, LLC (“Reinhart”), by its undersigned attorneys and for its Motion

 for Allowance of 503(b)(9) Claim (the “Motion”), states as follows:

                                        JURISDICTION
                                      AND BACKGROUND

    1.     This court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 Venue is appropriate in this court pursuant to 28 U.S.C. §§ 1408 and 1409. This is a core

 proceeding pursuant to 28 U.S.C. § 157(b)(2).

    2.     On July 8, 2019 (the “Petition Date”), 5171 Campbells Land Co., Inc. (the “Debtor”)

 filed a voluntary petition for relief under Chapter 11 of Title 11 of the United States Code, 11

 U.S.C. §§ 101 et. seq. (the “Bankruptcy Code”).

    3.     As of the date of this Motion, no trustee has been appointed for the Debtor’s businesses

 or properties.
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    4.     Prior to the Petition Date, Reinhart supplied the Debtor with certain goods, in the form

 of food and food products at 27 separate locations. Until the completion and closing of the sales

 of certain Debtor properties, and the cessation of operations at Debtor’s other properties, Reinhart

 continued to supply goods to the Debtors and also supplied leased dish machines and softeners at

 most, if not all of the Debtor’s locations.

    5.     Several shipments of goods from Reinhart were received by the Debtor within 20 days

 of the Petition Date. A summary, including invoice numbers, invoice dates, and value of the goods

 shipped to the Debtor is attached hereto as Exhibit A. As shown in Exhibit A, Reinhart is owed

 $266,349.89 (the “503(b)(9) Claim”) for goods received by the Debtor within 20 days prior to the

 Petition Date. Due to the volume of documents comprising the invoices, proofs of delivery, and

 other documents supporting the 503(b)(9) Claim, copies of all documents supporting the 503(b)(9)

 Claim are not included with this Motion. Reinhart can provide copies of such documents on

 request made to the undersigned.

                                               ARGUMENT

    6.     Pursuant to Section 503(b)(9) of the Bankruptcy Code, “[a]fter notice and a hearing,

 there shall be allowed administrative expenses . . . including … the value of any goods received

 by the debtor within 20 days before the date of commencement of a case under this title in which

 the goods have been sold to the debtor in the ordinary course of such debtor’s business.”

    7.     The goods shipped the Debtor were sold in the ordinary course of the Debtor’s

 businesses, and the Debtor received such goods within 20 days of the Petition Date, as illustrated

 by Exhibit A.

    8.     Because the goods were necessary to assist in running the Debtor’s businesses, Reinhart

 has provided a benefit to the estate for which it has not been compensated.

    9.     Reinhart has an administrative priority claim of $266,349.89 as of the Petition Date, and

 Reinhart remains entitled to an allowed administrative priority claim in the amount of $266,349.89

 and payment thereof in accordance with the Bankruptcy Code.
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    10.    Reinhart reserves the right to assert any and all other claims of whatever kind or nature

 that it has, or it may have, against the Debtor and any guarantor. The filing of this Motion is not a

 waiver or release of any claims or rights of Reinhart against any other person or entity relating to

 the shipments, an election of remedies, or a waiver of any past, present, or future defaults. Further,

 nothing contained herein is a waiver of any post-petition administrative expense claims that

 Reinhart has or may have against the Debtor.

           WHEREFORE, Reinhart respectfully requests that the Court enter an order allowing its

 503(b)(9) Claim in full, directing the Debtor to make full payment of the 503(b)(9) Claim in

 accordance with the Bankruptcy Code, and awarding Reinhart such other and further relief as the

 Court deems just and proper.

 Dated: October 25, 2019                               KOHNER, MANN & KAILAS, S.C.

                                                       /s/ Samuel C. Wisotzkey
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